     Case 8:21-cv-01807-JVS-DFM Document 26 Filed 03/29/22 Page 1 of 6 Page ID #:695




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 9
10                              UNITED STATES DISTRICT COURT

11               CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

12
      JOHN DOE, an individual,                    )   Case No.: 21-cv-01807-JVS(DFMx)
13                                                )
14          Plaintiff,                            )   PLAINTIFF’S REQUEST FOR
      v.                                          )   HEARING ON MOTION TO
15
                                                  )   DISMISS
16    REGENTS OF THE UNIVERSITY OF                )
17    CALIFORNIA,                                 )
                                                  )
18          Defendants.                           )
19                                                )
20    TO THE HONORABLE JUDGE JAMES V. SELNA:
21          COMES NOW Plaintiff, by and through his attorneys and submits his Request for
22    Hearing on the Motion to Dismiss and in support thereof states as follows:
23          A.     INTRODUCTION
24          Defendant filed a Motion to Dismiss alleging, among other things, that Plaintiff’s
25    claims should be dismissed as his claims were barred by the doctrine of res judicata under
26    California law. On March 25, 2022, this Court entered a Tentative Order Regarding
27    Motion to Dismiss First Amended Complaint (“Tentative Order”), granting dismissal on
28    res judicata grounds, vacating the hearing, but inviting the parties to request a hearing.
                             PLAINTIFF’S REQUEST FOR HEARING
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     Case 8:21-cv-01807-JVS-DFM Document 26 Filed 03/29/22 Page 2 of 6 Page ID #:696




 1          Plaintiff has reviewed the Tentative Order and contends that oral argument would
 2    assist the Court in assessing the merits (or lack thereof) of Defendant’s Motion to
 3    Dismiss, allow Plaintiff to address authority cited for the first time in Regents’ Reply, and
 4    to discuss the lack of privity, and the distinctions between Plaintiff’s January 2018
 5    complaint against a graduate student and professor, who made false allegations of
 6    stalking and research misconduct (RJN Exhibit C) and the December 2021 complaint
 7    herein against Regents for, inter alia, breach of contract, violation of Title IX, violation
 8    of California Civil Code, § 51, and negligence. (Dkt 17.)
 9          B.     RES JUDICATA
10          At a hearing, Plaintiff will not rehash the law on res judicata, rather Plaintiff will
11    clarify the application of California’s res judicata law, which the California Supreme
12    Court acknowledges has long been “inconsistent,” to this case against Regents. See,
13    DKN Holdings LLC v. Faerber, 61 Cal. 4th 813, 823-824 (Cal. 2015) (“We granted
14    review to clarify a bedrock principle of contract law: Parties who are jointly and severally
15    liable on an obligation may be sued in separate actions.”). Oral argument would allow
16    the parties to address the authority cited by Regents for the first time in the Reply, such as
17    Boeken v. Philip Morris USA, Inc., 48 Cal. 4th 788 (Cal. 2010).
18          C.     NOT THE SAME PARTIES; NO PRIVITY
19          A hearing and argument could clarify issues regarding the parties and privity in the
20    context of res judicata. For instance, in the 2018 complaint, Plaintiff, a graduate student,
21    sued Jane Roe, a graduate student, and her research supervisor John Roe in their
22    individual capacities for personal torts; claims against Regents had not yet accrued.
23    Regents of the University of California is the name of the California corporation formed
24    June 18, 1868 that governs the University of California as a public trust. Cal. Const., art.
25    IX, § 9, subd. (a); Lachtman v. Regents of University of California (2007) 158
26    Cal.App.4th 187, 211. Regents operates a public research university with ten campuses,
27    five medical centers, three national labs operated for the U.S. Department of Energy, and
28    “operates billion-dollar, multidisciplinary research centers that leverage public

                              PLAINTIFF’S REQUEST FOR HEARING
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     Case 8:21-cv-01807-JVS-DFM Document 26 Filed 03/29/22 Page 3 of 6 Page ID #:697




 1    investments to address society’s most critical issues and explore our world.”1 The
 2    University has some 227,700 employees, including approximately 11,000 tenured or
 3    tenure-track professors, 2 some 280,380 undergraduate and 59,000 graduate students,3
 4    including some 28,400 doctoral students, 22,000 professional students, and 8,000
 5    master's students, and an operating budget of $41.6 Billion in 2020-2021.4 Oral
 6    argument could address why privity among Jane Roe, John Roe, and Regents is not
 7    established for res judicata purposes in this case, any more than Regents is in privity with
 8    Regents’ other 227,700 employees for their individual bad acts. As neither Jane Roe nor
 9    John Roe had control over the University nor its Title IX adjudicative process, Plaintiff
10    could not sue them for the University’s failure to comply with Title IX or its breach of
11    contract or its negligence or its discrimination. In California, a plaintiff is not required to
12    sue every party against whom he may have a claim at the same time. (DKN Holdings,
13    supra, 61 Cal.4th at p. 822 - 823.) None of the causes of action against Regents arise out
14    of “matters within the scope of employment [of John Roe].” Drawsand v. F.F. Props.,
15    L.L.P., 866 F. Supp. 2d 1110, 1127 (E.D. Cal. 2011).
16          D.     EXHAUSTION UNDER CALIFORNIA LAW.
17          With a hearing, Plaintiff could clarify an issue that the Tentative Order appears to
18    misunderstand when stating “here Doe is not challenging the validity of the final
19    administrative decision.” On the contrary, Plaintiff specifically pled that there was an
20    erroneous outcome. (FAC ¶ 239.) Doe v. White, 440 F.Supp.3d 1074 (N.D. Cal. 2020) is
21    distinguishable because in that matter the university’s final administrative decision was in
22    Jane Doe’s favor. There was no need for Jane Doe to challenge a final administrative
23    decision through judicial review under Cal. Code Civ. Proc., § 1094.5 because the final
24    administrative decision was in the student’s favor, whereas in this matter, Plaintiff is
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26    1
        https://www.universityofcalifornia.edu/uc-system/parts-of-uc
27    2
        https://www.universityofcalifornia.edu/infocenter/employee-fte
      3
28      https://www.universityofcalifornia.edu/uc-system
      4
        https://www.ucop.edu/operating-budget/_files/rbudget/2021-22-budget-summary.pdf
                             PLAINTIFF’S REQUEST FOR HEARING
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     Case 8:21-cv-01807-JVS-DFM Document 26 Filed 03/29/22 Page 4 of 6 Page ID #:698




 1    challenging the erroneous determination to suspend him, among other things. (FAC ¶¶
 2    239, 255.) As such, the requirement to exhaust administrative remedies and judicial
 3    review in the California state cases and Doe v. Regents of the University of California,
 4    891 F.3d 1147 (9th Cir. 2018) applies in this matter against Regents. (See, Dkt. 17, FAC
 5    ¶ 177.) On oral argument, Plaintiff can explain that the causes of action against Regents
 6    did not accrue until over two years after the 2018 complaint against John Roe and Jane
 7    Roe; doing away with exhaustion would require a change in California law and federal
 8    authority. Plaintiff could also clarify and discuss that there was no obligation for Plaintiff
 9    to seek a stay in the 2018 complaint. Oral argument would allow discussion on how
10    Owens v. Kaiser Foundation Health Plan, Inc., 244 F.3d 708 (9th Cir. 2001) is
11    inapplicable because in that matter, Ms. Owens was suing the same defendant for the
12    same bad acts. Here Plaintiff is suing Regents when in 2018 he was suing Jane Roe and
13    John Roe individually. Although a plaintiff “may not ‘split’ his claims against a single
14    [defendant]” he or she can bring a “claim against others who are liable for the same
15    harm” in a separate action. DKN Holdings, supra, 61 Cal.4th at p. 822. As such, even if
16    the harm to Plaintiff was the same (which is denied), his claim against Regents may be
17    brought in this separate action.
18          Although Regents claims that Cal. Gov. Code, § 995 required Regents to defend
19    John Roe and Jane Roe, the state court found this not to be true. RJN Exhibit 6,
20    1/24/2022 Minute Order, Page 2. Judge Salter concluded, “But the evidence before this
21    court on the renewed motion was not before the appellate court and equity should not
22    kowtow to expediency. This is the right result.” Id., p. 3.
23          E.     NOT THE SAME INJURY
24          Oral argument may be of assistance in showing that while the 2018 complaint and
25    this matter against Regents may at first glance appear to involve the same injury and to be
26    inextricably intertwined, they are not. Plaintiff’s injury in the 2018 Complaint was Jane
27    Roe and John Roe false allegations, not Regents’ failure to abide by its contractual
28    obligations nor Regents’ violation of Title IX and the Unruh Act, and negligence, which
                              PLAINTIFF’S REQUEST FOR HEARING
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     Case 8:21-cv-01807-JVS-DFM Document 26 Filed 03/29/22 Page 5 of 6 Page ID #:699




 1    had not accrued in 2018, and continued after 2018. Regents’ failings may have served to
 2    increase Plaintiff’s damages but were not the origin of the separate harm caused by Jane
 3    Roe and John Roe in the 2018 complaint. The false allegations by John Roe and Jane
 4    Roe is a separate harm from the discrimination, contractual breaches, and negligence by
 5    the University, Regents. Owens v. Kaiser Foundation Health Plan, Inc., 244 F.3d 708
 6    (9th Cir. 2001), affirms that a plaintiff cannot bring state law claims in state court and
 7    then federal law claims in federal court based upon the same racial discrimination
 8    circumstances. Likewise, Drawsand v. F.F. Props., L.L.P., 866 F. Supp. 2d 1110 (E.D.
 9    Cal. 2011), does not permit a plaintiff to file more than one complaint against a single
10    defendant based upon a single primary right. (Id. at p. 1126.) The Court in Drawsand
11    noted that “[t]he most salient characteristic of a primary right is that it is indivisible: the
12    violation of a single primary right gives rise to but a single cause of action.” (Id. citing
13    Mycogen Corp. v. Monsanto Co., 28 Cal.4th 888, 904 (Cal. (2002).) Therefore, in
14    Drawsand, the plaintiff’s claims against only the “Property Defendants” were barred by
15    res judicata because she had previously made the same claim against them that they failed
16    to take corrective action regarding her neighbors’ harassment. (Id.) Even if Jane Roe
17    and John Roe had not lied to the police, lied to the University, and lied to the insurance
18    company, the University still violated its contractual obligations to Plaintiff, it still treated
19    him differently than similarly situated female students, and was negligent in its Title IX
20    investigation and adjudication process.
21          At a hearing, Plaintiff could point out that no final judgment was made on the issue
22    of whether the University violated its contractual obligations to Plaintiff. No final
23    judgment was made on whether the University violated Title IX. No final judgment was
24    made on whether the University violated the Unruh Act. The parties and issues and
25    rights in this matter are completely separate from those in the 2018 Complaint and were
26    not part of the final judgment in that matter – unjust as it may have been. Simply because
27    a final judgment was made in the prior case is not enough to justify application of res
28    judicata. “Whether res judicata applies is not simply a matter of satisfying the doctrine’s
                              PLAINTIFF’S REQUEST FOR HEARING
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     Case 8:21-cv-01807-JVS-DFM Document 26 Filed 03/29/22 Page 6 of 6 Page ID #:700




 1    technical requirements.” People v. Barragan, 32 Cal.4th 236 (Cal. 2004).
 2          Plaintiff, John Doe, respectfully asks the Court to schedule a hearing on the Motion
 3    to Dismiss.
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                                                         HATHAWAY PARKER
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 6    Dated: March 29, 2022                       By:        /S/ Mark M. Hathaway         .
                                                         MARK M. HATHAWAY
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                                                         JENNA E. PARKER
 8                                                       Attorneys for Plaintiff
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                            PLAINTIFF’S REQUEST FOR HEARING
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